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                                    CAUSE NO. 2023-34415

 MARVIN FREEDMAN                                  §                 IN THE DISTRICT COURT
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §                 129th JUDICIAL DISTRICT
                                                  §
 SHELLPOINT MORTGAGE                              §
 SERVICING                                        §
                                                  §
                                                  §
        Defendants.                               §             OF HARRIS COUNTY, TEXAS



                           DEFENDANT’S ORIGINAL ANSWER

        Comes now, Shellpoint Mortgage Servicing (“Defendant”) and files its Original Answer

to Plaintiffs’ Original Petition and would show the Court as follows:

                                    I. GENERAL DENIAL

        1.      As allowed by Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies the allegations made in Plaintiffs’ Original Petition and demand strict proof thereof.

                                           III. Prayer

              WHEREFORE, PREMISES CONSIDERED, Shellpoint Mortgage Servicing prays

that Plaintiffs’ Original Petition be dismissed, and that Plaintiffs takes nothing by way of their

claims. Defendant further requests that judgment be granted in its favor with respect to all claims

asserted by Plaintiffs, and for all further and other relief, whether at law or in equity, to which

Defendant may be justly entitled.




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                                            Respectfully Submitted,
                                            CODILIS & MOODY, P.C.

                                            /s/ Danya F. Gladney
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                                            Danya F. Gladney SBOT 24059786
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                                            ATTORNEYS FOR DEFENDANT



                               CERTIFICATE OF SERVICE

        Pursuant to Texas Rules of Civil Procedure, I certify that a true and correct copy of the
foregoing has been sent on this the 15th day of June, 2023 to all parties of record the method
indicated below.

Via E-SERVICE:

Marvin Freedman
14237 E Sam Houston Pkwy N
200-182
Houston, TX 77044
Mfreed420@aol.com

PRO SE PLAINTIFF




                                                    /s/ Danya F. Gladney
                                                    Danya F. Gladney




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